                  Case 1:23-cv-03680-CKK Document 1-4 Filed 12/11/23 Page 1 of 1




August 11, 2022
                                                                                                      In Reply refer to
                                                                                                      FOIA Control #:
AMERICA FIRST LEGAL FOUNDATION                                                                        2022-5862
REED RUBINSTEIN
611 Pennsylvania Ave SE #231, Washington                                                              Requester reference:
Washington, D.C. DC 20003 US




    Dear Requester:

    The Food and Drug Administration (FDA) has received your Freedom of Information Act (FOIA) request for records
    regarding:

    I. Custodians a. Janet Woodcock b. Rick Bright c. Gary Disbrow d. Denise Hinton II. Requested Records The
    timeframe for each request is March 1, 2020, to September 1, 2020: A. For all custodians, all records, including but not
    limited to email, texts, memoranda, and handwritten notes including the words “hydroxychloroquine” or “HCQ,” or
    “early treatment,” or “early (drug) treatment,” or “remdesivir.” ETC

    We will respond as soon as possible and may charge you a fee for processing your request. If your informational needs
    change, and you no longer need the requested records, please contact us to cancel your request, as charges may be
    incurred once processing of your request has begun. For more information on processing fees, please see
    http://www.fda.gov/RegulatoryInformation/FOI/FOIAFees/default.htm.

    Due to an increase in the number of incoming requests, we may be unable to comply with the twenty-working-day time
    limit in this case, as well as the ten additional days provided by the FOIA. The actual processing time will depend on the
    complexity of your request and whether sensitive records, voluminous records, extensive search, and/or consultation
    with other HHS components or other executive branch agencies are involved. Please note that requests for medical
    device approval records (e.g. 510K, PMA, DEN) may take up to 18 to 24 months to process.

    If you have any questions about your request, please call Sarah B. Kotler, Director, Division Of Freedom Of
    Information, at (301) 796-8976 or write to us at:
    Food and Drug Administration
    Division of Freedom of Information
    5630 Fishers Lane, Room 1035
    Rockville, MD 20857

    If you call or write, use the FOIA control number provided above which will help us to answer your questions more
    quickly.

    You also have the right to seek dispute resolution services from:

    Office of Government Information Services              and/or             FDA FOIA Public Liaison
    National Archives and Administration                                      Office of the Executive Secretariat
    8601 Adelphi Road – OGIS                                                  US Food Administration
    College Park, MD 20740-6001                                               5630 Fishers Lane, Room 1050
    Telephone:202-741-5770                                                    Email: FDAFOIA@fda.hhs.gov
    Toll-Free: 1-877-684-6448
    Email:ogis@nara.gov
    Fax: 202-741-5769




                                                                         Sincerely,



                                                                         SARAH KOTLER
                                                                         Director
